

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NO. AP-75,521






EX PARTE RAY CHARLES HAWKINS, Applicant








ON APPLICATION FOR A WRIT OF HABEAS CORPUS


CAUSE NO. 4-93-821-A IN THE 114TH DISTRICT COURT


FROM SMITH COUNTY






	Per curiam.


O P I N I O N



	Pursuant to the provisions of Article 11.07 of the Texas Code of Criminal Procedure, the
clerk of the trial court transmitted to this Court this application for writ of habeas corpus.  Ex parte
Young, 418 S.W.2d 824, 826 (Tex. Crim. App. 1967).  Applicant was convicted of indecency with
a child and sentenced to twenty years' imprisonment. 

	Applicant contends that his trial counsel rendered ineffective assistance because he  failed
to timely file a notice of appeal.  The trial court appointed habeas counsel and held a hearing on
Applicant's claims.

	The trial court has determined that trial counsel failed to timely file a notice of appeal.  We
find, therefore, that Applicant is entitled to the opportunity to file an out-of-time appeal of the
judgment of conviction in Case No. 4-93-821-A from the 114th Judicial District Court of Smith
County, Texas.  Applicant is ordered returned to that time at which he may give a written notice of
appeal so that he may then, with the aid of counsel, obtain a meaningful appeal.  All time limits shall
be calculated as if the sentence had been imposed on the date on which the mandate of this Court
issues.  We hold that, should Applicant desire to prosecute an appeal, he must take affirmative steps
to file a written notice of appeal in the trial court within 30 days after the mandate of this Court
issues.


Delivered: October 4, 2006

Do Not Publish


